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                            EXHIBIT 1
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                               STATE OF MICHIGAN

          MICHIGAN OFFICE OF ADMINISTRATIVE HEARINGS AND RULES

                            FOR MICHIGAN STATE UNIVERSITY

                                                *****

Re:    Matter of Jane Roe 2       and John Doe             Case No. 00500-2018; and
       Matter of Jane Roe 1         and John Doe             Case No. 00530-2018




                        DECISION OF THE RESOLUTION OFFICER



       Procedural History

       In late February, 2018, the Office of Institutional Equity (OIE) at Michigan State

University (MSU or University) received reports alleging that, on or about April 23, 2016,

Jane Roe 2      (Ms.   Jane Roe 2Jane   Roe 2         or Dr.   Jane Roe 2and   Jane Roe 1      (Ms.

Jane Roe 1or Jane Roe 1                  both being students in the MSU College of Human

Medicine (CHM), were subjected to separate violations of the “University Policy on
                                                                                               John Doe
Relationship Violence & Sexual Misconduct” (PRVSM, RVSM, or Policy)1 by

            (Respondent or Mr. John Doe           also a student in CHM.

       Pursuant to a letter dated April 17, 2018, Mr. John Doe was notified that, in regard

to Ms.   Jane Roe 2he   was accused of “engag[ing] in sexual harassment” and, more

specifically that he had “made unwanted sexual contact with her in violation of Section X2

of the University's RVSM policy”. In addition, pursuant to a letter dated July 31, 2018, Mr.



1The Policy then in effect was the 3/7/16 version. It has been revised since.
2It is believed that MSU’s reference to Section X was made in error. Section X addresses Privacy and
Confidentiality matters that appear unrelated to this matter.

                                                  1


                                                                                            Exhibit 1
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John Doe was notified that, in regard to Ms. Jane Roe 1he was accused of “engaging in

sexual violence” and, more specifically, that he had “raped her in violation of Section

VIII(D) of the University's RVSM policy”.

        By its terms, the PRVSM applied to “all members of the University community” and

dictated that they “shall not engage in relationship violence or sexual misconduct against

employees, students, or third parties.” RVSM, § 2, p 4. “Persons who do so are subject

to disciplinary action, up to and including . . . dismissal for students.” RVSM, § 2, p 4.

The PRVSM applies when “conduct occurs on campus”, when “conduct occurs off-

campus in the context of the University employment, education, or research programs or

activities”, and when “conduct occurs off-campus outside the context of a University

program or activity but has continuing adverse effects on campus or in any University

program or activity”3. RVSM, § 2, p 4-5.

        PRVSM Section VIII. D. defined “Sexual Violence”, as follows:

                Sexual violence is defined as a physical sexual act perpetrated
        without consent. A number of different acts can fall within the definition of
        sexual violence, including rape and sexual assault.
                • “Sexual Assault” is defined as having or attempting to have sexual
        intercourse or sexual contact with another individual by force or threat of
        force; without consent; or where the individual is incapacitated.
                • “Rape” is defined as sexual penetration, however slight, of another
        person without that person’s consent. Penetration can be of the mouth,
        vagina, or anus, and can be with a penis, tongue, finger, or foreign object.
                • “Sexual intercourse” includes vaginal or anal penetration, however
        slight, with a body part (e.g. penis, tongue, finger, hand) or object, or oral
        penetration involving mouth to genital contact.
                • “Sexual contact” includes intentional contact with the intimate
        parts of another, causing another to touch one’s intimate parts, or
        disrobing or exposure of another without permission. Intimate parts may
        include the breasts, genitals, buttocks, groin, mouth or any other part of
        the body that is touched in a sexual manner.


3The conduct at issue in this matter, occurred outside the context of a University program or activity but
has had continuing adverse effects in the programs and activities of the CHM.

                                                    2
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              PRVSM Section VIII. F. defined “Consent”, as follows:
              Consent means the voluntary, willful, and unambiguous agreement
      to engage in a specific sexual activity during a sexual encounter. Consent
      cannot be given by someone who is:
              • Sleeping;
              • Unconscious, unaware, or otherwise mentally or physically
      helpless because of drugs, alcohol or other contributing factor
      (“incapacitated”);
              • Unable to understand the nature of the sexual activity due to a
      mental disease or condition (“mentally incapable”); or
              • Under duress, threat, deception, coercion, misuse of professional
      authority/status, or force.
              Consent must be clear and communicated by mutually
      understandable words or actions. Silence, passivity, the absence of
      resistance, or the absence of a verbal “no” or “stop” does not imply consent
      and relying solely on non-verbal communications may result in a violation
      of this policy. It is important not to make assumptions. If confusion or
      ambiguity arises during a sexual interaction, it is essential that each
      participant stops and verbally clarifies the other’s willingness to continue.
      Prior consent does not imply current consent or future consent; even in
      the context of a prior or current relationship, consent must be sought and
      freely given for each instance of sexual contact.
              Consent to any form of sexual activity does not automatically imply
      consent to other forms of sexual activity. Consent can be withdrawn at
      any time during a sexual encounter. Consent to engage in sexual activity
      with one person does not imply consent to engage in sexual activity with
      another.

             PRVSM Section VIII. G. defines “Incapacitation”, as follows:

              Incapacitation is a state where an individual cannot make an
      informed and rational decision to consent in sexual activity because the
      individual lacks conscious knowledge of the nature of the act (e.g., to
      understand the “who, what, where, when, why or how” of the sexual
      interaction) and/or is physically helpless. An individual is also considered
      incapacitated, and therefore unable to give consent, when asleep,
      unconscious, or otherwise unaware that sexual activity is occurring.
              Incapacitation may result from the use of alcohol and/or drugs.
      Consumption of alcohol or other drugs, inebriation or intoxication are
      insufficient to establish incapacitation. The impact of alcohol and drugs
      varies from person to person, and evaluating incapacitation requires an
      assessment of how the consumption of alcohol and/or drugs impacts an
      individual’s:
              • Decision making ability;
              • Awareness of consequences;
              • Ability to make informed judgments; or

                                            3
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               • Capacity to appreciate the nature and circumstances of the act.
               Evaluating incapacitation also requires an assessment of whether
        a respondent knew or should have known that the claimant was
        incapacitated when viewed from the position of a sober, reasonable
        person.
               In general, sexual contact while under the influence of alcohol or
        other drugs poses a risk to all parties. Alcohol and drugs impair a person’s
        decision-making capacity, awareness of the consequences, and ability to
        make informed judgments. It is especially important, therefore, that
        anyone engaging in sexual activity be aware of the other person’s level of
        intoxication. If there is any doubt as to the level or extent of the other
        person’s intoxication or impairment, the prudent course of action is
        to forgo or cease any sexual contact or activity.
               Signs of incapacitation may include:
               • Slurred speech
               • Bloodshot eyes
               • Smell of alcohol on breath
               • Clumsiness
               • Inability to focus
               • Confusion
               • Shaky balance
               • Stumbling or falling down
               • Vomiting
               • Poor judgment
               • Difficulty concentrating
               • Combativeness or emotional volatility
               • Outrageous or unusual behavior
               • Unconsciousness
               Being intoxicated or impaired by drugs or alcohol is never an
        excuse for misconduct and does not diminish one’s responsibility to obtain
        consent.


        On April 24, 2019, this Administrative Law Judge (ALJ) was assigned to preside

over this matter as MSU’s Resolution Officer (RO). That evening, MSU made available

to this RO the cloud-based Hearing Case Files that, pursuant to MSU’s rules, are to be

considered by the RO in making this decision.4 Hearing Case File, number 00530-2018,



4 Hearing Rule B reads, in part: “At the conclusion of the hearing, the Resolution Officer will analyze the
information presented and will make a decision based upon the information that was available at the time
of the hearing, including the investigative report.” The Hearing Case Files for each case includes the
Preliminary Investigative Report, the Final Investigative Report, and their associated attachments.

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related to the complaint of Jane Roe 1      and Hearing Case File, number 00500-2018,

for Jane Roe 2    both contain similar Preliminary Investigation Reports (PIR) and Final

Investigation Reports (FIR) prepared by Kroll Associates, Inc (Kroll). The FIRs are both

dated February 7, 2019.

      According to both FIRs, in February 2018, Kroll was hired to conduct independent

investigations of alleged violations of the PRVSM.       “All investigation reports [were]

prepared at [MSU’s request] . . . and constitute the University’s findings and dispositions

as they relate to underlying claims.” FIR, p 4. The portions of the FIRs that relate to

those findings and dispositions have been blacked out and made unavailable for this RO’s

review.

      Between the dates of the FIR’s issuance and retention of this RO, the procedural

events that led to this hearing have, by intention, not been clearly outlined to this RO.

This RO is presiding over this matter pursuant to a strict and expedited schedule for

commencement of Respondent’s Baum hearing and completion of the RO’s decision.

      On May 2, 2019, a pre-hearing conference was held with Respondent and his

attorney. On May 6, 2019, a separate pre-hearing conference was held with        Jane Roe 2


          attorney. On May 9, 2019, a third pre-hearing conference was held with both

Jane Roe 2         and Respondent’s Attorneys.

      Cross-examination was conducted on May 13-15, 2019 in conformity with federal

court order and MSU’s Relationship Violence and Sexual Misconduct Policy Hearing

Procedures.




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Alleged Violations of the PRVSM

       Respondent is accused of twice violating PRVSM § II by engaging in the prohibited

act of sexual misconduct, as defined in PRVSM § VIII (D).

Standard of Proof

       For this matter, MSU has adopted a Preponderance of the Evidence standard to

find that Respondent has violated the PRSVM.

Findings of Fact

       Evidentiary Record to be Considered

       Pursuant to MSU policy, the record for consideration by the RO consists of the

following:

       -     Hearing Case Files for Case Nos. 00500-2018 and 00530-2018. Each of those

             files contains a FIR, with redactions, a PIR, and the reports’ associated

             attachments.5

       -     The testimonial evidence presented at hearing on May 13-15, 2019.6

       In Case # 00500-2018, Kroll indicates that they interviewed the following persons:

Jane Roe 2            Respondent John Doe           K.B.             Dr. Angela Busch,       Jane Roe 1


             K.S.               and L.T.           HCF-500, p 8. In Case # 00530-2018, Kroll

indicates they interviewed the following persons: Jane Roe 1                             Respondent




5 Because there is no common page numeration in the Hearing Case Files, citations to them will include
page numbering that corresponds to the page number as identified in the electronic PDF format of the
document when viewed on Adobe Acrobat Reader DC.
6 A record of the hearing was video and audio recorded by MSU. To facilitate the timely issuance of this

decision, MSU had the audio recordings transcribed and made available to this RO over the course of
Friday June 17, 2019. Volume one and three did not have page numbering and citations to them are based
on the page number shown by the Adobe software used to view them. Volume two had page numbering
and citations to that volume include the page numbering as shown on the transcription.

                                                   6
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John Doe        K.B.           7,   Dr. Angela Busch, Corey Koperski, Jane Roe 2                       Holly

Reed, K.S.                   L.T.         and A.V.                8.   HCF-530, p 9. The PIR and FIR

contain, almost exclusively, summaries of the interviews that were conducted; those

summaries being interspersed with quotations of the interviewees.

           The following exhibits were attached to the Investigation Reports, and were

considered: a screenshot of text messages between Jane Roe 2                                and   Jane Roe 1


              on April 23 and 24, 2016, provided by Jane Roe 1                        screenshots of text

messages between Respondent and Jane Roe 1                               on April 27, 2016, provided by

Jane Roe 1               Jane Roe 1               Block III Third Year Track Schedule Form 2017-

2018, provided by Holly Reed; Jane Roe 2                         typed statement regarding events of

April 23, 2016 and her amended typed statement regarding events of April 23, 2016.

           The live testimony, provided on May 13-15, of the following witnesses was also
                                                                                                        John Doe
considered: Claimant Dr. Jane Roe 2                 Claimant Jane Roe 1                 Respondent

                Dr. Angela Busch, K.S.                        L.T.          A.V.                and A.R.

       .

           At hearing, all witnesses, except Mr. A.R.       9,   were asked to review Kroll’s summary

of their interview statements. To facilitate use of the Kroll reports and to develop a record

for cross examination, each witness was then asked to adopt the corresponding interview

summary as their direct testimony, subject to any clarifications, corrections, and/or



7 Mr. John Doe requested that K.B.              appear for cross-examination. As permitted by MSU policy,
he chose not to do so. In light of Baum, the FIR statements attributed to Mr. K.B.        are not considered
for the truthfulness of the matters asserted and, where included in this Decision, were considered for limited
purposes; largely to provide context.
8 Summations of statements made by Corey Koperski and Holly Reed were included in both Hearing Case

Files. Neither of these individuals were called to testify at hearing. Their statements have limited probative
value and were not considered in making this decision.
9 Mr. A.R.    was not interviewed by Kroll.

                                                      7
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additions that they wished to make.10             After developing their direct testimony, the

witnesses were subject to cross examination, re-direct examination, and re-cross

examination.

       All information provided in the HCFs and at hearing was considered by this RO.

Failure to identify specific parts of the record does not indicate it was overlooked, but may

suggest it was not considered important to this decision.

       This Decision was written under a tight timeline established by federal court order.

It is the first such Decision made pursuant to Baum and with State of Michigan ALJs

retained to serve as RO’s. While the tight timeline has negatively affected the quality of

this written Decision, it provided sufficient time to assess the record and make the final

conclusions. This RO is satisfied that additional time to publish the Decision would not

have affected the outcome of this matter.

       Overview of Events Surrounding Alleged Incidents.

       All the student actors in this case are acquainted with one another because of their

status as students in the MSU College of Human Medicine. Respondent was attending

school at CHM’s East Lansing campus. Both Claimants and the other student witnesses

were attending school at CHM’s Grand Rapids campus. Respondent was first introduced

to Claimants, and other medical students, as a participant in a Spring Break, 2016, work

service trip to Cuba.

       The events that form the basis of this complaint took place during the evening of

Saturday, April 23, 2016 and into the early A.M. hours of the following Sunday. On the



10At the 3rd pre-hearing conference, counsel for the parties were advised of this procedure and asked to
have their clients thoroughly review their interview summaries. The procedure was subsequently added to
the University’s hearing procedures

                                                   8
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 23rd, both Claimants, the Respondent, and other CHM students gathered at the Grand

 Rapids home of K.B.                   for alcoholic drinks and pictures prior to the medical

 school’s annual “Med Ball” (Ball) that marks the end of the school year. After drinks, the

 twenty, or so, in attendance at the K.B.           home proceeded to the masquerade themed

 Ball.

         The Med Ball was located at Noto’s, a Grand Rapids Italian Restaurant with a

 banquet hall. The FIRs contain several witness descriptions of the general atmosphere

 at the ball. To provide perspective and context for the relevant facts, the following

 descriptions of the Ball are included. The Ball included a cocktail hour, a meal, an awards

 ceremony, dancing, and, seemingly, lots of alcohol. Ms. Jane Roe 2described the Ball as an

 event where her “fellow medical students were all ‘drinking and celebrating.’” HCF-530,

 p 6. Respondent described the Med Ball as an event where “‘everyone was inebriated’”11

 and there “was ‘a lot of sexual energy within the group.’” HCF-530, p 12.                     Jane Roe 1


             stated that “everyone, including her, was dropping their drinks on the dance

 floor.” HCF-530, p 13. Ms. K.S.                stated that “’[e]veryone was drinking that night;

 people let loose.’” HCF-530, p 25. Ms. L.T. described the Ball as an event where

 “everyone drank more than they should have.” HCF-530, p 28. It was at the Med Ball

 that Jane Roe 1              alleges Respondent engaged her in sexual intercourse without

 her consent.

         After the Med Ball, a number of medical students, including Jane Roe 2

 Jane Roe 1             Respondent, Mr. K.B.            Ms. K.S.        and Ms. L.T. proceeded to

 The B.O.B., a well-known Grand Rapids entertainment establishment.


 11In his direct testimony at hearing, Respondent made clear that he “did not consider [himself] or anyone
 else to be incapacitated.” Tr 2, p 14.

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           Following their visit to The B.O.B, Jane Roe 2                         Jane Roe 1

 Respondent, and Mr. K.B.               all eventually returned to Mr. K.B.          home where they

 spent the night. Jane Roe 2                 alleges it was at Mr. K.B.         home that, in the wee

 hours of Sunday, April 24, 2016, Respondent engaged her in sexual contact without her

 permission.

           Claimants’ and Respondent’s Description of Events

           Jane Roe 1              indicated that “[f]ollowing the trip to Cuba and up to the night

 of Med Ball, Jane Roe 1                  and Mr. K.B.         had been seeing each other on a non-

 exclusive basis for a few weeks.”12 HCF-530, p 13. On the night of the Med Ball, she

 was interested in continuing a romantic relationship with him. Tr 1, p 50. Up to the night

 of the Ball, Ms. Jane Roe 2was Jane Roe 1                   “closest friend”. Tr 1, p 52.

           At the pre-Ball gathering at Mr. K.B.              home, Ms. Jane Roe 1indicated that she

 drank one glass of wine.           HCF-530, p 13. Ms. Jane Roe 1is a vegetarian and the Med

 Ball’s dinner course included few vegetarian options, so she recalled eating only “a little

 bit”.     HCF-530, p 13. After dinner, Jane Roe 1                      was on the dance floor with

 Respondent, who was teaching her to dance the waltz and the cha-cha. Tr 1, p 70.

 Jane Roe 1                 recalled Respondent “remarking that [she] was not able to do the

 steps” and her replying that she “was too drunk at that point to take anything from it.” Tr

 1, p 70. Ms. Jane Roe 1recalled dropping her drinks on the dance floor. HCF-530, p 13.

 To remedy this faux pas, she “would go to the bar and drink faster so that she would not

 have to bring her drinks out to the dance floor.” HCF-530, p 13. Ms. Jane Roe 1indicated

 that she drank five or six, and possibly more, whiskey and cokes while at the Med Ball.



 12   The record makes clear that this was a sexual relationship.

                                                       10
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 HCF-530, p 13. Jane Roe 2                    indicated that some time before the alleged sexual

 assault, she observed Jane Roe 1                       in a bathroom and that she was “‘definitely

 drunk’”. HCF-500, p 10.

         Jane Roe 1               provided the following recitation of events, at HCF-530, p 13-

 14:

                 Jane Roe 2        and her then-husband had a lot of marital issues
         and the “situation blew up early in the evening” at Med Ball. Jane Roe 1
                    “kept seeking [Jane Roe 2          out to see if she was alright.”
         Toward the end of the night, she went outside to find Jane Roe 2
         and found her and Mr. K.B.        kissing.13 Jane Roe 1             went back
         inside and climbed the stairs to the second floor. . . .14
                 Jane Roe 1          was unsure of how long she had been sitting on
         the stairs when Respondent joined her at the top of the stairs.15 She told
         him about seeing Jane Roe 2          kissing Mr. K.B.      16 From the top of

         the stairs, Respondent led Jane Roe 1            to a hallway on the second
         floor. There were no other people on that floor. He then led her to a
         stairwell that appeared to be part of a fire escape.17 As soon as they
         entered the stairwell, Respondent started kissing and making out with her.
         Jane Roe 1           does not recall Respondent asking her if it was okay
         to kiss her. She recalled him making demands of her. Respondent told
         her, “take off your dress.” Jane Roe 1          did not recall if she took her
         dress off.18 She remembers “flashes of being naked on the ground, and
         [Respondent] having sex with [her].” She stated that “none of it is
         extremely clear.” Respondent never asked if he could have sex with her,

 13 Jane Roe 1            testified that seeing Jane Roe 2        and Mr. K.B.       kissing was “painful” and
 “upsetting” and that she considered it a betrayal by both. Tr 1, p 53-54.
 14 Jane Roe 1          testified that upon discovering Jane Roe 2       and Mr. K.B.        kissing, she walked
 quickly back into the restaurant and that she was “upset” and “crying at that point and . . . wanted to find
 somewhere to be alone.” Tr 1, p 56. Jane Roe 2              indicated that, after Jane Roe 1            saw her
 kissing Mr. K.B.        Jane Roe 1            “was upset and ‘ran away dramatically’.” Finding Jane Roe 1
             reaction “out of character”, she “followed Jane Roe 1           back inside and tried to find her.”
 HCF-530, p 30.
 15 Jane Roe 1          testified that, when Respondent joined her at the top of the stairs, she was still crying.
 Tr 1, p 84.
 16 Jane Roe 1          testified that she explained to Respondent that she was crying because of the kissing
 she had witnessed between Jane Roe 2               and Mr. K.B.     Tr 1, p 84. “So, she testified, “he knew
 about that situation and then his response was to lead me into a stairwell.” Tr 1, p 84. Jane Roe 1
 described herself as being “very drunk” at this time. Tr 1, p 58.
 17 Jane Roe 1          testified that she remembered Respondent “taking her hands and . . . lea[d]ing [her]”
 to the stairwell. She recalls that she did not know where she was being led and that Respondent merely
 stated “come here”. Tr 1, p 86. When being led through the door, she did not know what lie on the other
 side. Tr 1, p 86-87.
 18 Jane Roe 1           has no recollection regarding how her clothes were removed or put back on. Tr 1, p
 69-70.

                                                       11
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       he “just made demands.” She recalled Respondent saying, “look at me,”
       in a demanding tone. She thought that she was looking down and away
       from him. Respondent said this a few times, roughly. Jane Roe 1
       does not recall clearly saying “no.” She felt as if she “shut down,” as a
       reaction to the hurt she felt from seeing Jane Roe 2        and Mr. K.B.
       kissing. While they were still in the staircase, but after the sex ended,
       Respondent took off Jane Roe 1             necklace and told her that he was
       going to keep it. Jane Roe 1           did not recall how long the encounter
       lasted. She remembered that when she was initially at the top of the stairs,
       there were many people downstairs. When she returned downstairs, it
       appeared that the event had ended. She went back downstairs with
       Respondent and she heard Mr. K.B.          calling for her.

       On cross-examination, Jane Roe 1             agreed that Respondent never held her

 down, but that she remembered “being against the wall with him in front of [her]. Tr 1, p

 80. Further, she acknowledged that Respondent never hit her, nor did he threaten to hurt

 her, “but the language he used was very… he made demands in a threatening way.” Tr

 1, p 80. When asked by this RO to further explain her testimony about being against a

 wall, the following testimony was provided at Tr 1, p 81-82:

               ALJ/RO: . . . When you indicate he had you against the wall, what
       do you mean by that?
               MS. Jane Roe 1 I just mean that I remember that I was against a
       wall and he was kissing me.
               ALJ/RO: Were you restrained?
               MS. Jane Roe 1 I don’t remember being pushed against the wall,
       but I just remember that physical situation.
               ALJ/RO: Did you feel free to leave at that time?
               MS. Jane Roe 1 I felt that I was shut down at that point. I felt that
       there was this person that a few minutes ago was trying to comfort me and
       then led me into a stairwell.
               ALJ/RO: Okay, when you say shut down… What does that mean?
               MS. Jane Roe 1 It means that that was my response. I felt that I
       could not react and that it was like this dissociation of I couldn’t… I didn’t
       know… this person that I did not think was threatening was doing this and
       I did not know what he was capable of at that point. He was… the
       language he was using… I just didn’t know and I didn’t feel… especially
       with the alcohol, I think, I just didn’t… I couldn’t react.




                                             12
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        Jane Roe 1            further explained that her “shut down” reaction was likely a

 reaction to the combined experiences of seeing Jane Roe 1                    and Mr. K.B.

 kissing and of having “someone [she] thought [she] could trust, and [with whom she] was

 talking to about what had just happened, leading [her] into a stairwell and responding in

 that way.” Tr 1, p 83.

        Jane Roe 1          testified that she “knew before, during, and after that [she] did

 not want to engage in sexual activity with   John DoeTr   1, p 83.     She explained that she

 “knew that [she] did not want what was happening to be happening, but [she] felt

 powerless to do anything about it.” Tr 1, p 83. She does not recall expressing these

 feelings to Respondent. Tr 1, p 84.

        Jane Roe 2        explained that, while Jane Roe 1              was away, she had been

 looking for her and that when she finally found her, Jane Roe 1                appeared to be

 “‘much more drunk’” and “visibly distraught”. HCF-530, p 30, 41.

        Ms. Jane Roe 1Mr. K.B.          and Respondent left the Med Ball together and

 proceeded to The B.O.B. by Uber. HCF-530, p 14. Jane Roe 1                   claims that during

 the ride “Respondent did or tried to hold her hand” and “[s]he felt powerless that she could

 not tell Respondent to go away”. HCF-530, p 14.

        While at The B.O.B., Ms. Jane Roe 1engaged in a conversation with Mr. K.B.

 regarding the incident of Mr. K.B.      and Ms.   Jane Roe 2kissing,   which she described, at

 HCF-530, p 14, as follows:

                She talked to Mr. K.B.        about what had happened between
        Jane Roe 2          and him, but she did not talk about what had just
        happened to her. She was “just shut down.” During that conversation, Mr.
        K.B.     told her, “sorry, that wasn’t fair to you.” Jane Roe 1       was
        “pretty much just crying.” She did not think that she said very much at all.



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                Jane Roe 2           testified to limited interactions with Jane Roe 1
                    at The B.O.B., but did indicate that Ms. Jane Roe 1was “very
         intoxicated at that point” and “looked ‘glassy eyed.’” HCF-530, p 31.

         Sometime later that evening, Mr. K.B.             Ms.   Jane Roe 2Ms.   Jane Roe 1and

 Respondent eventually all made their way to Mr. K.B.            home for the night. HCF-530,

 p 14.

         Pursuant to the FIR, as adopted by Ms. Jane Roe 1Ms. Jane Roe 1provides, at HCF-

 530, p 14, the following description of events at Mr. K.B.         home:

                After they arrived at the house, Jane Roe 1               immediately
         went to Mr. K.B.        room “to get away.” Respondent followed her to Mr.
         K.B.       room and laid on the bed next to her for a while. She was facing
         the middle of the bed, and Respondent was lying next to her, facing her.
         Jane Roe 1           pretended to be asleep. She was unable to vocalize
         anything. She was “just trying to silently tell him to go.” She did not recall
         Respondent touching her. She thinks that she fell asleep at that point. Mr.
         K.B.     told her that he came into the room when Respondent was there,
         but she did not remember that happening.

         At HCF-530, p 31, Jane Roe 2               described this portion of the evening, as

 follows:

                Jane Roe 2           Jane Roe 1            Mr. K.B.   and Respondent
         were . . . in the kitchen for a while. At this point, Jane Roe 1      “could
         not even stand.” Respondent was holding her up. Respondent and
         Jane Roe 1              went to Mr. K.B.             bedroom at some point.
         Jane Roe 2           could not recall if they both came back to the kitchen
         later. Mr. K.B.       stayed in the kitchen with Jane Roe 2       most of the
         time, though he may have gone into his bedroom at one point.

         At HCF-530, p 14, Jane Roe 1               provided additional details addressing the

 following morning, as follows:

                 When she woke up in the morning, Mr. K.B.         was in the bed with
         her. Respondent came into the room at some point before he left.
         Jane Roe 1            did not say anything at that point. Later that morning,
         Mr. K.B.       said, “[Respondent] told me that you guys hooked up last
         night, is that true?” Jane Roe 1           told him yes and tried to explain
         what happened. She told him that Respondent was very demanding, and

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         that she did not remember anything clearly. Mr. K.B. replied, “I hope
         you’re not trying to tell me he raped you?” His response “cut that
         conversation off.”

         “Later that day, Jane Roe 1              told her friend K.S.                 that Respondent

 had sex with her the previous night, and she had not consented to it.” HCF-530, p 14.

         Immediately after the evening of the Med Ball, Respondent and Ms. Jane Roe 1were

 in contact with one another via text messaging. In the early A.M of Wednesday April 27,

 2016, Ms. Jane Roe 1texted the following to Respondent, “Look I need you to know that

 Saturday was a mistake and nothing like that can happen again”. FIR, Attach B. Later

 that day, after other text exchanges between the two, Respondent again texted Ms.

 Jane Roe 1inviting her to brunch on the upcoming Saturday. FIR, Attach B. Ms. Jane Roe 1

 responded by stating, “Look the whole situation on Saturday just doesn’t sit well with me,

 and I don’t want to see each other. I care about K.B. and that’s my priority right now”.

 FIR, Attach B. Ms. Jane Roe 1described this as her way of “politely trying to get away

 from him in that situation.” HCF-530, p 15.

         Respondent, Mr. John Doe           provided a similar, but on critical points, a strikingly

 different account of the evening. Like the other witnesses, Mr. John Doe adopted, as

 his direct testimony, the statements attributed to him in the FIRs, with a minor clarification,

 and with objection to the statements contained in the seventh and eighth paragraphs of

 page 14 of the FIRs.19 He provided extensive additional direct testimony and was subject

 to cross, re-direct, and re-cross.


 19 Beginning at Tr 2, p 18 and continuing to Tr 2, p 29 is the transcription of the examination of Mr.
 John Doe by this RO, to determine what portions of the 7th and 8th paragraphs he was actually objecting
 to. This proved to be a much more difficult task than was expected with Mr. John Doe Mr. John Doe
 was non-responsive on several occasions. Mr. John Doe admitted that the first sentence of paragraph
 seven was accurate. Tr 2, p 19. Later, he admitted that the first sentence of paragraph eight was also
 accurate. Tr 2, p 19. Shortly thereafter, Respondent stated that he didn’t “agree with the entirety of the
 seventh and eighth paragraphs”. Tr 2, p 25. A statement that this RO noted was not accurate. Tr 2, p 25.

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         Mr. John Doe describes his pre-Ball relationship with Jane Roe 1                            as one

 in which he first met her on the Cuba trip and that, with regard to any romantic

 involvement, “there was ‘perhaps a little bit of tension, but nothing physical. HCF-530, p

 16. He added that “‘[i]t’s a little bit nuanced; I think there was some attraction’”. HCF-

 530, p 16. However, prior to the Ball, Mr. John Doe had not spoken to                            Jane Roe 1


             “‘for a while’”. HCF-530, p 16.

         At Mr. K.B.          house, Mr. John Doe describes himself as “‘drinking a fair bit’”.

 HCF-530, p 16. At the Med Ball, Mr. John Doe described “‘everyone [as being] very

 inebriated’”.20 HCF-530, p 16. At HCF-530, p 16, Mr. John Doe described dancing with

 Jane Roe 1              as follows:

                 Respondent felt that [he and Jane Roe 1          “became closer”
         during [the time they danced]. Respondent . . . taught Jane Roe 1
         the steps to the Waltz and the cha-cha. Everyone was dancing at that
         time. Respondent and Jane Roe 1             were the only two individuals
         [in their group] without dates. At one point, Jane Roe 1           said to
         Respondent, “I guess you’re my date for Med Ball.” He responded, “Yeah,
         I guess so.”21 They talked about their friends, medical school stress and
         “how drunk [they] were.”
                 Respondent and Jane Roe 1              were dancing closely and
         grinding.22 Respondent stated that the threshold to grinding is not “very

 Regarding whether he stated to the investigator that he was “a little aggressive with her about telling [him]
 what was going on, as it related to the possibility of her being pregnant”, Respondent stated he “wasn’t
 aggressive.” The text messages in Attachment B indicate that Mr. John Doe had gotten Jane Roe 1
             “word” that she would tell him if she was pregnant and that he pressed her on this issue. See
 Attachment B. Finally, Respondent admitted to the gist of the final sentence; that he had asked Jane Roe 1
             out for a meal.
 20 On direct examination, Respondent stated that he “felt like [everyone in his group] were all similarly

 inebriated and [he] did not have any impression that there was a single person in the friend group or
 [him]self who had drank too much.” Tr 2, p 33.
 21 Mr. John Doe considered Jane Roe 1                statement to be a form of flirtation. Tr 3, p 108.
 22 At Tr 3, p 105-06, Respondent explained that grinding is a fairly common dance style for his “generation”

 and described it, as follows:
                    It’s — the man is behind if it is a male and female couple generally the man is
          standing behind the female. The female is rubbing her butt onto the man — on to the front
          of the man including the genital area. Her hands are usually reaching behind her to
          whatever she wishes to grab and the man reaches around in front of her to kind of stay the
          hip region and there is like a rocking motion with the beat of the music.

                                                          ***

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         high in our generation.” They started grinding early in the evening.
         Respondent felt that the dancing “built up the sexual energy” between he
         and Jane Roe 1            There was “a lot of sexual energy within the
         group, and that included [Mr. K.B.          and there was a lot of flirting
         among members of the group.

         Mr. John Doe explained that later that evening he found Jane Roe 1                             sitting

 on the top of the stairs that led to the lobby. HCF-530, p 16. He described her as looking

 “hunched”, “despondent”, “somber”, “upset”, “sad” and “somnolent”. HCF-530, p 16. Tr

 2, p 33, 34. At HCF-530, p 16, Respondent indicated that he did not recall                         Jane Roe 1


             crying, stumbling, or slurring her words. HCF-530, p 16. However, on cross

 examination, Respondent contradicted this by agreeing that Jane Roe 1                                    was

 crying at the top of the stairs. Tr 3, p 81. Respondent indicates that he and                      Jane Roe 1


             “were both ‘very drunk and saying things. [Respondent] remembers talking

 very openly.’” HCF-530, p 16. “There were no walls.” HCF-530, p 16. At HCF-530, p

 17, Mr. John Doe described the following interaction with Jane Roe 1

                Jane Roe 1          told Respondent that she and Mr. K.B.      had
         been sleeping together for the previous few weeks. Mr. K.B.           had
         brought his own date to Med Ball, and Respondent had not witnessed
         much interaction between Jane Roe 1           and Mr. K.B.   to that point
         in the evening. Jane Roe 1            told Respondent that she witnessed
         Jane Roe 2        and Mr. K.B.     making out, and that she was sad as a
         result. Jane Roe 1             sat close to Respondent, who said that
         Jane Roe 1         was “somber in general, and she seemed exceptionally
         somber that night.” Respondent mused that her seeing someone she was
         sleeping with being intimate with someone else, made her sad.2324
                Respondent felt that the sexual energy between he and Jane Roe 1
                   had been building up throughout the night.25 . . . Respondent


                  One could argue that it is the characterization of sex while standing.

 23 During direct-examination, Respondent indicated that he “was addressing the topic of why she appeared
 somnolent”.
 24 During direct-examination, Respondent indicated that “[he and Jane Roe 1               opened up about
 stresses of medical school, things going on in our lives… we talked for some time and there was like flirtation
 during this period of time.”
 25 During direct examination, Respondent added that while at the top of the stairs “there was like flirtation


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         decided to see if he could kiss Jane Roe 1              He did not ask her if
         he could kiss her. He placed his hand on her chin, turned her face towards
         his, and kissed her.26 She did not resist and “responded completely, with
         her tongue.” This was followed by a series of kisses, and they had their
         hands on each other’s arms and faces. Respondent did not recall touching
         Jane Roe 1             breasts at that point. The touching was all on top of
         the clothes.27 Respondent stated that he could not “recall every little bit.”
         Respondent did not know if anyone could see them from the lobby.
                 Respondent asked Jane Roe 1              “Would you come with me?”
         Jane Roe 1             took his hand and he led her to “somewhere more
         private on the second floor.”28 Respondent did not recall if Jane Roe 1
                     said anything at this point. There were other people on the
         second floor, so he opened a door that led to a stairwell. When they were
         in the stairwell with the door closed, they began to make out again. They
         moved from making out, to touching under the clothes, to intercourse.
         There were very few words exchanged. Respondent felt that “everything
         was reciprocated. There was no hesitation. If anything, there was
         eagerness.”
                 At one point, Jane Roe 1           got down on her hands and knees
         for “that sort of intercourse.” Because the floor was vinyl or hard rubber,
         Jane Roe 1            asked Respondent to use his jacket for cushioning for
         her knees. Respondent stated that Jane Roe 1                “got down on her
         hands and knees on her own accord and presented herself.” Respondent
         did not recall if Jane Roe 1          was naked. He recalled that her chest
         was bare. He did not recall what she was wearing. He was “pretty sure
         that she took the dress off herself.” His jacket was off, and his shirt was
         open.
                 Respondent stated that the only position in which he and Jane Roe 1
                     had sex was ‘from behind.” Respondent could not “get hard
         enough to penetrate [Jane Roe 1                He inserted his fingers into her



 during this period of time”. Tr 2, p 35. He also added that there had been flirtation earlier in the night,
 describing it as “[t]hings that we talked about, the manner in which they were said, and the vulnerability in
 what was communicated”, including compliments on the “way that [he] was teaching her to dance.” Tr 3, p
 83-84. Respondent cited further instances he felt were flirtation, such as grinding on the dance floor, and,
 as he stated at Tr 3, p 85:
                    So while we are waltzing their natural position is on the right side — on the left side
          of the abdomen and holding my right hand and so while we are dancing and we are getting
          in a lot closer than is the more professional distance between waltz partners, we are a lot
          closer together and her hands are touching, reaching down a little bit towards my buttocks
          moving in such a way that the — I don’t want to say rubbing but to that effect of moving
          around my body.
 26 On direct examination, Respondent expressed “lean[ing] over and initiat[ing] the kiss”, rather than turning

 her head with his hand to kiss her.
 27 On direct, Respondent testified that this kissing and embracing went on for “multiple minutes”. Tr 2, p

 37.
 28 Up to this point of the evening, Respondent described Jane Roe 1                    as being self-ambulatory,
 steady on her feet, and speaking clearly without a slur. Tr 2, p 38-39.

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         vagina.29 He told her that “it wasn’t working.” They “tried for fifteen
         minutes.”
                                               ***
                 Respondent did not recall if Jane Roe 1             was wearing a
         necklace and did not recall taking her necklace off.30
                 After Respondent told Jane Roe 1           that “it wasn’t going to
         work,” they dressed31 and returned to the lobby. While standing in the
         lobby, Respondent and Jane Roe 1            were “arm-in-arm.” They were
         both “very inebriated.” Mr. K.B.       and his date were in the lobby.
         Respondent remembered thinking that if he had to get home on his own
         at that point, he was not sure that he could, because he was very drunk.
         He was holding Jane Roe 1            hand, as they had “just attempted to
         be together upstairs.”

         Mr. John Doe indicated that he went to The B.O.B. with Jane Roe 1                               Mr.

 K.B.      and Mr. K.B.            date. HCF-530, p 18. In his testimony, Respondent stated

 that, upon arrival at The B.O.B., he, Jane Roe 2                        Jane Roe 1                and Mr.

 K.B.       all got drinks and made their way to a “little enclave area where there is some

 seating, a table, and a wall. Tr 2, p 47. He testified that Jane Roe 1                       was “on the

 couch talking with Mr. K.B.              Tr 2, p 47. On the other hand, he also stated that, he

 “sat close to Jane Roe 1                on a couch”, but because of his “very inebriated” state

 he does not recall any specifics of conversation with her. HCF-530, p 18. Further,

 Respondent testified that, at this time, he and Jane Roe 2                             are engaged in

 conversation a “few steps away” from Jane Roe 1                            Tr 2, p 47.       Respondent

 testified that, at this time, Jane Roe 2                 kissed him. Tr 2, p 48.          At Tr 2, p 50,

 Respondent provided the following testimony about this interaction:

                 She steps closer to me, she reaches her hand up to my face,
         strokes my jaw line, and states along the lines of she finds me very
         attractive. She’s the one that, then, on her own volition, leans in and kisses

 29 On direct-examination, Respondent testified to the following: “One thing I remember is when my fingers
 entered, like, she slides her body back and forth on my fingers, so… I take these as signs that she is
 continuing to reciprocate my actions and participating.”
 30 On direct-examination, Respondent made clear that he “did not take a necklace”. Tr 2, p 44.
 31 Respondent added on direct examination that that they individually put their clothes back on. Tr 2, p 44.


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         me… this is not me taking the first step here… this is her leaning in and
         kissing me.

                                                     ***

                 We continued to make out for a span of a couple, a few, seconds.32

         Respondent testified that this was followed by dancing with Jane Roe 2                           for

 a few minutes, “in the conventional provocative sense of the word… what we call

 grinding.” Tr 2, p 51. He indicates that he and Jane Roe 2                    “kissed again and made

 out on the dance floor.” Tr 2, p 51. At some point Jane Roe 2                      takes a break to use

 the bathroom and Respondent has “no other memories of anything happening at The

 B.O.B.”. Tr 2, p 52.

         Later that evening/morning, Mr. John Doe found himself at Mr. K.B.                             home

 in the kitchen with Jane Roe 2             and Mr. K.B.         HCF-530, p 18. Like the Claimants,

 he provided statements and testimony regarding his interactions with Jane Roe 1

 in Mr. K.B.         bedroom. At HCF-530, p 18, Mr. John Doe explains that:

                 [He] went to Mr. K.B.      bedroom to go to sleep. Jane Roe 1
                    was in the bed and [he] climbed into the bed and was facing
         Jane Roe 1           They were both fully clothed. He “wanted to say that
         she was awake” because he tried to kiss her on the mouth and she gave
         him some clear signal that meant “no.” Respondent tried to sleep, but he
         could not and so he left the room and went to sleep on the couch in the
         living room.

         After receiving the PIR, Mr. John Doe was provided the opportunity to provide

 comment in the form of “feedback, additional information, or corrections to the draft

 report”.   HCF-530, p 77.         Mr. John Doe           chose to do so and, at HCF-530, p 77

 (emphasis added), wrote the following:



 32Respondent testified that all this was happening within a few steps of, and visible to, Jane Roe 1
 Tr 2, p 47-48. He believes Jane Roe 1          saw this. Tr 3, p 109.

                                                     20
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               I must mention that Mr. K.B.         statement about walking in on
        Jane Roe 1          and myself in his bedroom is a complete falsehood
        that doesn't align with either my or Jane Roe 1 accounts of the story. I have
        previously alluded to Mr. K.B.           and me not having the best of
        relationships, but I was surprised to find a fabrication like that in his report.

        Mr. John Doe        above quoted feedback to the PIR was in response to the

 following statement, found at HCF-530, p 89, that was attributed to Mr. K.B.

                Jane Roe 1         went into his bedroom. Mr. K.B.       went to the
        bathroom, and when he returned Respondent was gone. Mr. K.B.
        walked into his bedroom and saw that Jane Roe 1             was lying on the
        edge of his bed, with Respondent behind her, “pretty much on top of her,
        trying to touch her and cuddle her.” It looked as if Jane Roe 1         was
        crying and scared. Mr. K.B.             asked what was going on, and
        Respondent replied, “Don’t worry about it.” Mr. K.B.       told Respondent
        to get out of his room, and he did.

        On cross-examination Respondent testified to a new version of these events. Mr.

 John Doe acknowledged that when he crawled into bed with Jane Roe 1                        he was

 still interested in her, that he kissed her, that she said “no”, and that he remained in the

 bed. Tr 3, p 93-94. Finally, at Tr 3, p 94-95, Respondent offered the following:

              So I was sleeping on the other side of the bed at this time away
        from Ms. Jane Roe 1Mr. K.B.    enters the room and sleeps in between
        me and Ms. Jane Roe 1

                                              ***

               I don’t like sleeping next to another man, so I left.

        Mr. John Doe indicated that upon leaving Jane Roe 1                    in Mr. K.B.

 bedroom, he entered the living room to sleep on the couch. HCF-500, p 12. At HCF-500,

 p 12-13, Mr. John Doe provided the following:

               [Upon entering] the living room, he saw that Jane Roe 2     was
        on the sectional couch and that she was not asleep. Jane Roe 2
        moved closer to the back of the couch, making room for Respondent, and
        he laid down next to her. Respondent could not recall if they spoke but
        recalled that they were face-to-face. He recalled that they were both

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        intoxicated, and he initiated kissing and “above-the-belt touching.” [T]he
        kissing was reciprocated by Jane Roe 2                Respondent defined
        “above-the-belt touching” as touching her “waist, breast, shoulders.”
        Respondent stated that, while he did not explicitly ask for consent at each
        stage, that he “must have felt” that Claimant consented, or he would not
        have “moved to the next stage.” He does not have a clear memory of
        every nuance in the interaction.
                While Respondent and Jane Roe 2          were lying face-to-face, he
        reached his hand behind her and started reaching lower. Respondent
        thought that he pulled up her dress and had his hands on the small of her
        back and slid them down to touch her upper buttocks. He added that there
        was “no penetration,” and it was more of a continuation of what was
        happening “above-the-belt.” Respondent stated, at this point, “a wall was
        hit,” and he stopped. He recalled that Jane Roe 2            may have said
        something like, “I’m tired.” Some kind of clear cue was given. He added
        that she may not have said anything. She may have moved his hand
        away. At that point, he got up and moved to a different part of the couch.
        It was 3:00 am, and they were “both tired and drunk.” He “honestly didn’t
        have the will or capacity to go to the penetration stage. And maybe she
        wasn’t into it.” There was “no pushback” on his end. He spent the rest of
        the night on a different part of the couch.

        During live direct examination, at Tr 2, p 53, Respondent described this incident,

 as follows:

               The ultimate place that I go to sleep at K.B. house is on the U-
        shaped sectional couch that Jane Roe 2 is also sleeping on in the living
        room of K.B. house.
                                              ***
               [Jane Roe 2         is lying on the couch, her back is against the…
        her face is toward where your back rests on a couch… that is the direction
        she is facing, not the other way… she is facing toward where your back is
        on a couch.
                                              ***
                [Jane Roe 2        was awake.] She sees me enter the room.
                                              ***
                She looks at me, she moves closer to the back cushions of the
        couch to make room for me to lie down behind her in the spooning position.
        I did not crawl over her to spoon her without waking her up… I laid down
        in the spooning position behind her.
                                              ***
                So, I am the one that is closest to, like, where your feet would rest
        on the couch.
                                              ***


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                  [Her body language indicate that she wants [me] to lie down with
         her.]
                                           ***
               [W]hen I laid down to spoon her she reciprocates that action. She
         moves her body in such a way that her buttocks are in close proximity to
         my genitals.
                                           ***
               I put my arm around her waist and I touch her on top of her clothes.
                                               ***
                At some point, she turns around, she faces me, we briefly kiss, and
         then a few seconds later Jane Roe 2makes this statement to the effect of, you
         know, I’m tired. At this point, like, I’m really tired too… it’s like 5 in the
         morning. So, this is me taking her signal as, like, this… I don’t want to go
         any further. So, I get up and I move to the other end of the couch, like a
         few feet away from her, and I go to sleep… and Jane Roe 2goes to sleep as far
         as I know she falls asleep where she originally was on the couch. I leave
         her position. This whole thing on the couch… this whole interaction is like
         less than a minute. It is 30 seconds to a minute.

         During Cross-examination, Respondent acknowledged that Jane Roe 2                           did

 not verbally invite him to join her on the couch. Tr 3, p 99.

         During Cross-examination, Mr. John Doe stated that he remembers                      Jane Roe 2


          leaving in the morning. Tr 3, p 102.

         Dr.   Jane Roe 2provided   a different description of the events that occurred after she

 returned33 to Mr. K.B.             house. At HCF-500, p 12, she explained that:

                Because she did not have a ride home, [she] decided to sleep on
         one side of a U-shaped sectional couch. The couch was in a common
         room, and “not a secluded area.” When she fell asleep, she was alone
         and still wearing her formal dress. . . . [S]he woke up with Respondent
         positioned behind her on the couch, “spooning her.” Respondent was
         pulling up her dress, putting his hands on her hips and under her
         underwear. Respondent was attempting to kiss her and became more
         persistent. At this point, Jane Roe 2          was fully awake, and told
         Respondent “no.” Jane Roe 2          then got up and moved to a different
         room. Respondent did not follow her.


 33 Prior to arriving back at Mr. K.B.   Jane Roe 2     walked a friend home from The B.O.B. Tr 1, p
 34. From there, Ms. Jane Roe 2took an Uber to Mr. K.B.   home to continue hanging out with friends as
 she was unprepared to return to her husband with whom she had had a falling out with at the Med Ball. Tr
 1, p 15, 35.

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        Jane Roe 2           does not know the length of time for this interaction with

 Respondent. Tr 1, p 37. For the part that she was awake, she agreed that the interaction

 was “relatively short”. Tr 1, p 37. Eventually, the interaction stopped, but Dr. Jane Roe 2was

 unsure if the interaction ended “exactly after [she] said stop or if [she] had pushed his

 hands away.” Tr 1, p 38. Dr. Jane Roe 2believes this incident to place at “4:00 maybe 5:00

 a.m.” Tr 1, p 39.

        Dr. Jane Roe 2testified that, at no time, did she invite Respondent to lie on the couch

 with her and added, “I was the first one to kind of go lie down on the couch and then I just

 promptly fell asleep.” Tr 1, p 44. Jane Roe 2        claims that at no point did she verbally

 consent to any physical or sexual contact from Respondent. Tr 1, p 8. Further, she

 asserts, she is not aware of having voluntarily engaged in any “physical or sexual contact

 with the Respondent.” Tr 1, p 8. On redirect, at Tr, p 44-45, Jane Roe 2            provided

 the following:

                  MS. FRAZHO: Did you invite him to lie on the couch with you at any
        point?
                MS. Jane Roe 2No.
                MS. FRAZHO: And were your eyes open or did you roll around to
        face him when he…when you discovered he was behind you on the
        couch?
                MS. Jane Roe 2I distinctly remember…I just remember my back
        being to him. He slid in between me and then the back of the couch.
                MS. FRAZHO: And did you ask him at any point to place his hands
        under your dress or in your underwear?
                MS. Jane Roe 2No.
                MS. FRAZHO: And did you ever move his hands under your dress
        or into your underwear?
                MS. Jane Roe 2I remember pushing them away.
                MS. FRAZHO: But not placing them there?
                MS. Jane Roe 2No.
                MS. FRAZHO: And did you kiss him while you were lying on the
        couch?
                MS. Jane Roe 2No, not that I remember.
                MS. FRAZHO: And did you sexually touch him?

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            MS. Jane Roe 2No.
            MS. FRAZHO: And the only touch you had with the Respondent
       was when you pushed him away?
            MS. Jane Roe 2Yes.
            MS. FRAZHO: And you distinctly remember saying “No” to him?
            MS. Jane Roe 2Yes.

       Ms.   Jane Roe 2testified   that, over the course of the evening, she consumed alcohol

 and it affected her memory. At Tr 1, p 21-22, she explained:

                I don’t remember fully all of the exact details from basically arriving
       at The B.O.B. There are parts at The B.O.B. that I do not remember
       because we were drinking there. I remember more or less the scenarios
       of sitting at K.B. house, but I do not remember exactly what people were
       saying between alcohol and the fact that it was two years ago, three years
       ago now.

       Evidence Presented by Other Witnesses

               Dr. Angela Busch

       “Dr. Busch is the Community Assistant Dean for the MSU College of Human

 Medicine in Grand Rapids. She oversees third- and fourth-year medical students and

 their clinical experiences.” HCF-500, p 21. At HCF-500, p 21, she explained:

              At the end of the students’ second year, they are placed in groups,
       and through that process students can request not to be with other
       students. If a student makes such a request, it typically involves an ex-
       boyfriend or ex-girlfriend.
              In February 2018, . . . Dr. Busch [learned] that two female medical
       students, Jane Roe 2          and Jane Roe 1           had both requested
       not to be placed with . . . Respondent. Dr. Busch reached out to Jane Roe 2
               and Jane Roe 1           individually and asked that they speak with
       her about their requests. At the time, she did not know if their reasons
       were related or if the two knew each other.

       Dr Busch did meet with both Claimants. Ms.           Jane Roe 2met   with her “right away”.

 HCF-500, p 22. Dr. Busch, indicated that when meeting with Jane Roe 2                 she “‘could

 immediately tell this was not an ex-boyfriend situation.’” Jane Roe 2                  was very




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 ‘uptight, and her mouth was dry.’”34 HCF-500, p 22. Jane Roe 2                           informed Dr. Busch

 that she “fell asleep on the couch, and when she woke up Respondent was laying behind

 her, grinding his hips on her, and had his hands up her shirt and down her pants.” HCF-

 500, p 22. Dr. Busch informed Jane Roe 2                     that she would have to report this incident

 to OIE. HCF-500, p 22.

         Dr. Busch also met with Jane Roe 1                             She describes Ms. Jane Roe 1as

 appearing “‘noticeably pale,” and it was clear that “she did not want to be there.’”35 HCF-

 500, p 22. At HCF-500, p 22, Dr. Busch explained that:

                 . . . she wanted to be sure she understood why Jane Roe 1
         did not want to rotate with Respondent. Jane Roe 1                 replied, “I’m
         not telling anyone. I can’t be with him. He is horrible. I’m not going to
         court for this. I’m never talking about this again.” It was clear to Dr. Busch
         that “some form of sexual misconduct” had been inflicted upon her.
         Jane Roe 1            “was upset and was not going to talk about it.” Dr.
         Busch was struck by how “physically and emotionally upset” Jane Roe 1
                      was. Dr. Busch told her that she needed to report to OIE that
         she was fearful of another student.

         Dr. Busch also had interactions with Mr. John Doe                        At HCF-530, p 104, she

 indicated that:

               Respondent had failed a clerkship and had some “professional
         problems with surgery.” Dr. Busch urged him to get some coaching, and
         he did.   His coach was “teaching him about reading nonverbal”



 34 At hearing, Dr. Busch described Jane Roe 2               demeanor, as follows:
                   And so when she came in she was I would say visibly shaken, kind of very dry
         mouth, kind of that nervous pale, kind of holding her body close to herself. You know like
         her arms wrapped around herself kind of thing. She was much more worried than I had
         expected she would be when she walked in the door.
 35 At hearing, Dr, Busch described this interaction with Jane Roe 1              , as follows:
                   So she was ill, like physically distraught. It took her a little bit longer to come in.
         She did not want to talk to me, mouth was dry, wouldn’t tell me what happened exactly.
         Just kind of kept saying again and again, I cannot go through this again. I cannot go to
         trial. I can’t do this. I can’t do this. I can’t do this. And it was just kind of — so she never
         actually told me specially what happened. Very dry mouth, very pale, trembling, crying,
         really shaken up and I could tell immediately that something was wrong.


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         communication. The coach later told Dr. Busch that Respondent had no
         insight into reading nonverbal communication.36

 This topic was also the subject of examination at hearing. At Tr 3, p 53-54, she testified:

                [I]f you are a medical student if you are struggling with a physical
         exam skill or if you are struggling with doing presentations, we will urge
         somebody to get coaching. In the case of John Doewhat had come up was
         that he had had some concerns from a surgeon who did not like his
         behavior in the operating room. It seemed like a consistent pattern of
         behavior that John Doewas struggling a little bit with which was I don’t know
         maybe not being able to read body language37 well so I suggested that he
         get some coaching from a previous surgeon who might be able to help him
         just understand the ways to behave in the operating room so that was what
         I was talking about.
                                              ***
                And his coach had reached out to me after meeting with John Doeand
         said, you know it seems like he has a little bit of a problem reading
         nonverbal communications, so it seemed like a consistent pattern for us.

                 K.S.

         Ms. K.S.       noted that, at the time of the Ball, “Jane Roe 1              and Mr. K.B.

 were sleeping together but not dating. Jane Roe 2                 was married. Jane Roe 1

 had ‘a lot of insecurities about whether something was going on between [Jane Roe 2

           and [Mr. K.B.           HCF-530, p 24.

         Ms. K.S.       invited Respondent to attend the Ball and offered her home, where

 she lived with her boyfriend, as a place for Respondent to spend the night. HCF-530, p

 24. She indicates that “[m]ost people drank two beers at Mr. K.B.                     house. No one


 36Dr. Busch testified that this type of review of student performance was a regular part of her job. When
 negative comments come in from a doctor, about a student, she undertakes measures to assist the student.
 Tr 3, p 68-69. At Tr 3, p 69, Dr. Busch testified to the following regarding the complaints about Mr.
 John Doe
                 I have never had this kind of comment, but I have had other comments where
         people were not acting as part of a team, but I have never had this particular comment like
         that before.

 37 Dr. Busch described Mr. John Doe     OB/GYN clerkship, where “there were also some evaluations or
 feedback that said that he would make inappropriate comments at the wrong time in front of patients.” Tr
 3, p 56.

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 was taking shots or drinking heavily. Ms. Jane Roe 1may have had one beer at Mr.

 K.B.       house; she is not a “‘big beer drinker.’” HCF-530, p 24.

        Ms. K.S.      had limited interactions with Jane Roe 1           at the Ball and “did

 not know how much Jane Roe 1              had to drink that night”. HCF-530, p 25.

        At The B.O.B., Mr. K.S.      had limited interactions with Jane Roe 1            but,

 at HCF-530, p 25, provided the following:

               [W]hile she was upstairs at The B.O.B., she looked across the
        dance floor and saw Jane Roe 1              Jane Roe 2          Respondent,
        and possibly Mr. K.B.         Ms. K.S.     spoke to them briefly. “None of
        them looked happy. They were kind of standing sullen in the corner.” Ms.
        K.S.     did not speak to Jane Roe 1          directly, and at this point she
        did not know that anything had happened. Jane Roe 1                      was
        standing on her own and seemed to be able to “ambulate and function.”
        Ms. K.S.     gave her house key to Respondent and told him that he could
        sleep on the couch. Jane Roe 1              Jane Roe 2          Respondent,
        and Mr. K.B.      left shortly thereafter. They were not at The B.O.B. for
        very long. Ms. K.S.       went out for pizza with her boyfriend, Ms. L.T.
        and another friend, and when she arrived at home Respondent was not
        there.

        On the next morning, April 24, 2016, Ms. K.S.      had breakfast with her boyfriend,

 Mr. K.B.      and Jane Roe 1                HCF-530, p 25.     At HCF-530, p 25-26, she

 described the breakfast and subsequent interactions with Jane Roe 1              as follows:

               “It was very awkward.” Mr. K.B.      was not looking at or speaking
        to Jane Roe 1              Jane Roe 1          seemed “really down and
        depressed.” She seemed “shell-shocked” and “out of it.”
               Mr. K.B.      was angry with Jane Roe 1         and, after breakfast,
        Ms. K.S.        asked him what happened. Mr. K.B.             told her that
        Jane Roe 1           had slept with Respondent and he did not like that she
        slept with someone he knew. Mr. K.B.            was angry with Jane Roe 1
                   “as if what happened was consensual.” . . .
               Later the same day, Ms. K.S.      spoke to Jane Roe 1            who
        told her what happened the previous night. Jane Roe 1              said that
        she stepped outside at Med Ball and saw Mr. K.B.             and Jane Roe 2
                making out. She was extremely upset. Mr. K.B.         and Jane Roe 2
                  knew that Jane Roe 1            had seen them, and Jane Roe 1
                    went back inside and up the stairs. Respondent saw that

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         Jane Roe 1           was upset and followed her up the stairs. [Mr. K.B.
         later told Ms. K.S.       that he tried to go speak to Jane Roe 1              at
         this point, and Respondent stopped him and told him that “she doesn’t
         want to talk to you.”]
                 Jane Roe 1             was crying and “shell-shocked” while she
         described to Ms. K.S.           what had happened. Jane Roe 1
         described the incident as an “out-of-body experience.” She said that
         Respondent “moved on her while she was extremely upset, and she felt
         frozen.” She “never consented, never said yes.”
                 Ms. K.S.        did not know the “exact details, movement by
         movement” of what Respondent did.38 Jane Roe 1                     told her that
         she “did not want it to be happening the entire time,” and “she felt frozen.”
         After it was over, Respondent “ripped her necklace off and kept it.”39
                 Jane Roe 1           told Ms. K.S.      that, later that night, she was
         at Mr. K.B.         house. When she got there, she went directly to Mr.
         K.B.        room to go to sleep. Respondent crawled into bed with her,
         which “made her extremely uncomfortable.” Respondent did not ultimately
         sleep there; he slept on the couch. Jane Roe 1                told Ms. K.S.
         that when she told Mr. K.B.           what happened with Respondent, Mr.
         K.B.      said, “Are you trying to tell me that he raped you?”
                 After Jane Roe 1            told her the story, Ms. K.S.        told her,
         “this sounds like rape.” Jane Roe 1              was “hesitant to admit that.
         She didn’t want to accept that that is what happened.” At no point did
         Jane Roe 1           tell Ms. K.S.      that what happened with Respondent
         was okay or consensual. . . .
                 The same day, Jane Roe 1                    came to Ms. K.S.
         apartment and together they went to purchase Plan B for Jane Roe 1
                     Ms. K.S.       remembered that they discussed that it was better
         to be safe than to worry about it or wait.

         As to Jane Roe 2                  matter, at HCF-530, p 26, Ms. K.S.                     recounts a

 conversation she had with Jane Roe 2                    as follows:

                Following Med Ball, Ms. K.S.    did not speak to Jane Roe 2
         often. Perhaps a few weeks after Med Ball, Jane Roe 2         told her that
         on the night of Med Ball, Respondent “made moves on [Jane Roe 2
         on the couch and touched her.” Jane Roe 2        called her then-husband
         to pick her up at 4:00 am because she did not feel comfortable sleeping
         on the couch with him.

 38 On cross-examination, Ms. K.S.           testified that Jane Roe 1          was able to recount “movement by
 movement” what happened up to Jane Roe 1                      sexual encounter with Respondent, but was unable
 to recount in such detail the actual sexual encounter with Respondent. Tr 1, p 115.
 39 On cross-examination, Ms. K.S.           testified that that she recalled seeing the necklace before the Med-
 Ball and that “it is in all of the pictures”. Tr 1, p 121. She testified that she did not see the necklace after
 the Med-Ball and added “[n]o one has”. Tr 1, p 121.

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                L.T.

        Ms. L.T. is a medical student at MSU. Tr 1, p 138. Ms. L.T. described               Jane Roe 1


            as her best friend40. HCF-530, p 26.           Ms. L.T. testified that she was at Mr.

 K.B.        house prior to the Ball where everyone had two drinks. HCF-530, p 26-27.

 She testified that, at the Ball, “everyone drank more than they should have. They were

 out with their medical school class, and ‘it should have been a safe place to just let go.’”

 HCF-530, p 27. At HCF-530, p 27, she added the following regarding the Ball:

              Jane Roe 1              does not drink beer; she drinks whiskey.41
        Jane Roe 1          is “tiny; probably 100 pounds soaking wet.” Jane Roe 1
                  was drinking glasses of alcohol. She could not walk straight and
        was “definitely unsteady.” Ms. L.T. “knows how she gets when she’s had
        too much. Her body language opens up a bit more.” Jane Roe 1
        was “out there dancing with us. She would never dance, she hates groups
        of more than ten people.” Jane Roe 1              “comes across as a bit
        confused” normally, and “alcohol amplifies that.” The only time Ms. L.T.
        has seen Jane Roe 1             as drunk as she was the night of Med Ball
        was when they went camping together.
              Med Ball “was a big party, and [they all] lost sight of each other.”
        There were fights. Jane Roe 2         and her then-husband got into a fight,
        and he threw his ring at her and stormed out. Jane Roe 1           and Mr.
        K.B.     were “kind of in a relationship,” and at some point,    Jane Roe 1
                  ran away crying.

        Ms. L.T. provided testimony regarding Jane Roe 1                       deteriorating mental

 health during the first half of 2016 school year. See HCF-530, p 27. During winter break,

 Ms. L.T. encouraged Jane Roe 1                   to seek counseling. HCF-530, p 27. At HCF-

 530, p 27-28, Ms. L.T. explained the circumstance under which she learned of the

 allegations made by Jane Roe 1                  as follows:

              Prior to the orientation that marked the beginning of the third year
        of medical school in the summer of 2017, Jane Roe 1          told Ms. L.T.

 40From the record, it is unclear when Ms. L.T. came to consider Jane Roe 1      her best friend.
 41Prior to adopting the FIR as her testimony, she clarified that Jane Roe 1    doesn’t drink a lot and
 normally drinks “very little whiskey”. Tr, p 141.

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         that she had included a request not to be placed on a rotation with two
         individuals when she submitted her rotation paperwork. She told Ms. L.T.
         that as long as she was not on a rotation with those two people, she would
         be fine.
                  On the day of orientation, the “entire track was together for the first
         time.” Jane Roe 1                  and Ms. L.T. had just sat down in the small
         room when Respondent entered the room. Jane Roe 1                           “started
         freaking out. Her face got red, she got fidgety.”42 Jane Roe 1                   ran
         out of the room and to the bathroom. Ms. L.T. went with her. When Ms.
         L.T. saw her in that condition, she “had no idea what to expect.” In the
         bathroom, Jane Roe 1                  “could not quite get words out.” She told
         Ms. L.T. that the problem was with Respondent. She was terrified.43 She
         told Ms. L.T. that “she couldn’t do it; she didn’t want to be on a track with
         [Respondent] or [Mr. K.B.              Ms. L.T. did not yet know what was going
         on. Jane Roe 1               said, “Did I ever tell you about Med Ball? I thought
         I did, I’ll tell you later, but I can’t…it’s [Respondent].”
                  Later that day, [after taking Jane Roe 1             to speak with school
         officials], Ms. L.T. and Jane Roe 1                    both cried when Jane Roe 1
                       told her the following:
                  Jane Roe 1                was having fun at Med Ball, and she saw
         Jane Roe 2             kissing Mr. K.B.          She and Jane Roe 2            were
         good friends, and Jane Roe 1                   “got pissed.” She ran back inside
         and up the stairs. Mr. K.B.            later told Jane Roe 1           that he tried
         to follow her up the stairs, but Respondent stopped him at the bottom of
         the stairs and said, “I can take care of this; she’s too mad at you.”
                  At the top of the stairs, Respondent started to command Jane Roe 1
                       to take off her dress. She told Ms. L.T. “I don’t know why I did
         it. I didn’t know what was going on.” Jane Roe 1                 told Ms. L.T. that
         she did not have a clear continuous memory of the entire night. She
         “wished that she had a full memory or none at all.” Jane Roe 1
         remembered snippets. She would hear something or feel something, and
         then “it would go black again.” Ms. L.T. asked her if she ever gave
         Respondent consent. Jane Roe 1                      said “no, I would have never
         thought of doing that.” Jane Roe 1                 told Ms. L.T. that Respondent
         “assaulted her and penetrated her, and that she has never been in so
         much pain after sex before.” She was in pain for a while after the incident.
         After Respondent was done, he took a piece of jewelry from Jane Roe 1
                       that had belonged to her sister. She “got herself together and
         went downstairs.”




 42 On cross-examination, Ms. L.T. testified that Jane Roe 1      “looked like she was having a serious
 panic attack… like a meltdown or something”. Tr 1, p 150.
 43 On cross-examination, Ms. L.T. added that Jane Roe 1        was crying. Tr 1, p 150.

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           As to Jane Roe 2             claim, Ms. L.T. was not able to testify to any of the actual

 events, but did provide testimony regarding how she learned of the alleged conduct. At

 HCF-500, p 28-29, she stated:

                  During the fall of 2017, [She] was hanging out with a group of girls,
           including Jane Roe 2           It was the third year of medical school, so
           there were students who had started at East Lansing there as well. One
           of the students from East Lansing, Sasha Collins, said she knew of some
           girls who had “come across some trouble with [Respondent].” Another girl
           said that she “would never be alone with him.” Ms. L.T. said that she
           knew about a girl that Respondent had assaulted in Grand Rapids. After
           Ms. L.T. said this, Jane Roe 2        said, “you know about me?” Jane Roe 2
                   then told Ms. L.T. that on the night of Med Ball, she went to sleep
           on the couch at Mr. K.B.         house, and she “woke up to [Respondent]
           groping her and trying to get on top of her, and she screamed and left.”

                   A.V.

           Ms. A.V.          is a limited license psychologist who has been treating                Jane Roe 1


               since January, 201744. HCF-530, p 29. Without objection, Witness A.V.

 testified to a number of matters relating to trauma and the Med-Ball incident and added,

 in relation to the investigative report,           that “[she] was speaking and answering the

 questions regarding trauma based upon [her] previous training with individuals who have

 experienced trauma, not on the basis of being an expert witness. I am not an expert

 witness regarding trauma.” Tr 3, p 9. Ms. A.V.                 has diagnosed Jane Roe 1                   as

 having “Adjustment Disorder with mixed depression and anxiety”. Tr 3, p 19. During

 treatment, Jane Roe 1                 shared, with Ms. A.V.            her experiences regarding the

 alleged acts, which, at HCF-530, p 29-30, Ms. A.V.                  describes, as follows:

                  [A]t an event on April 23, 2016, Jane Roe 1         had become
           upset by “other interpersonal situations happening.” She went upstairs to
           get some space. Respondent followed her and they spoke briefly. He
           became aggressive and took her to a fire escape. He told her to take off
           her dress. He demanded that she look at him and he proceeded to engage

 44   There was a nine month break in services while Ms. Jane Roe 1studied in Europe. Tr 3, p 18.

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         in sexual activities that were not wanted. After it was over, he took her
         necklace.
                Jane Roe 1              had difficulty sharing with Ms. A.V.         the
         specific details of the sexual act that took place. She recalled      Jane Roe 1
                    telling her that she was penetrated . . . .
                Jane Roe 1            described feeling “frozen and numb” during the
         incident. . . .
                                                 ***
                Jane Roe 1             told Ms. A.V.      that there were parts of the
         encounter she could not remember. . . . In the year and nine months Ms.
         A.V.      has been speaking to Jane Roe 1              about the incident, “she
         never wavered in the details she shared.”

         Ms. A.V.         explained that, when the alleged incident had ended,                Jane Roe 1


             “experienced emotional immobility, shame, and a feeling that what had

 occurred was her fault.” HCF-530, p 25. Jane Roe 1                         sense of “guilt and self-

 blame” was increased because she “tried to talk to someone about the incident soon after

 it occurred, and she got a negative response”. HCF-530, p 29. “After that, Respondent

 wanted to take her to get Plan B45 and invited her to breakfast, and she was further jarred

 by that.” HCF-530, p 29.

         When asked whether it was “common” or “uncommon” for the victim of sexual

 assault to suffer memory loss of the incident, Ms. A.V.              testified, at Tr 3, p 19, that:

                 I would say it is in the middle. It’s not everyone, but sometimes that
         will happen with different individuals. Sometimes in circumstances like
         these from my experience from talking to previous individuals who
         experienced trauma memories can manifest later or they are just not there.
         So, it depends on a situation. That’s the hard part, [it’s] very situational.

         To explain Jane Roe 1                   description of being frozen during the incident, at

 HCF-530, p 29, Ms. A.V.            testified:



 45 Respondent was unwilling to admit to knowing whether he discussed Plan B with Jane Roe 1         and,
 when asked about this, indicated his preference that the RO rely on text messages that he knew not to be
 in evidence. Tr 3, p 89. However, at one point when asked if he contacted Jane Roe 1         about Plan
 B, testified that, “I understand that — I don’t know.” Tr 3, p 89.

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                 “[S]ometimes our bodies will freeze so that we can survive a
         situation.”46 Freezing can occur during sexual assault. [It sounds] as if
         that was what happened to Jane Roe 1               when she was in the fire
         escape stairwell. Freezing can lead to guilt in survivors, because they look
         back and think, “why didn’t I fight?” [T]he immobility Jane Roe 1
         was experiencing likely hindered her ability to fight, but one can also
         engage in that state. “Part of the survival response is to go along with
         some of what is happening.” [I believe] Jane Roe 1             was trying to
         move through the situation and respond in a way that would allow her to
         survive.

         Ms. A.V.          indicated that she had no “concerns or questions” about Ms.

 Jane Roe 1“[b]ecause of the consistency of the nature and the physical responses I have

 noticed, it seems to me that it was a — it fell into the category of a response from

 experiencing trauma”. Tr 3, p 21.

                 A.R.

         Respondent called his brother-in-law, A.R.                   , as a character witness. See

 Tr 3, p 31-34. His testimony was not found probative.

 Analysis and Findings

         Credibility of the Witnesses

         With the exception of Respondent, all of the witnesses testifying, including both

 Claimants, were credible. Given their clouded memories, caused by the passage of time

 and the consumption of alcohol, their individual testimony appears consistent over time

 and consistent with one another. Their demeanors at hearing suggested they were

 testifying truthfully. The same cannot be said for Respondent. At hearing, Respondent’s

 demeanor left this RO feeling that he was being less than fully truthful. Most problematic



 46 In live direct examination, Ms. A.V.    added that: “In circumstances like these, people can have these
 symptoms.” Tr 3, p 8. She described this behavior as part of a “fight, flight or freeze response”. Tr 3, p
 20. She testified that Jane Roe 1         behavior “sounded like a freeze response from what she reported
 to [her] and from [her] previous experience.” Tr 3, p 20.

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 for Respondent’s credibility, however, was his contradictory claims regarding what took

 place in Mr. K.B.          bedroom and whether Jane Roe 1                      was crying at the top of

 the stairs at the ball. Other instances of contradictory testimony were noticed, but will not

 be recounted. In short, were conflicting evidence was presented on critical issues,

 Respondent is not to be believed.

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         Respondent admits to intentionally engaging in sexual intercourse, at the Med Ball,

 with Jane Roe 1               by penetrating her vagina with his fingers. His admission is

 accepted as fact.

         The question remains as to whether the act of sexual intercourse amounted to an

 act of Sexual Assault or Rape and, thus, by definition, an act of sexual violence. For this

 act of sexual intercourse to be found a Sexual Assault or Rape, it must have been

 effectuated under one of the three following circumstances: 1) by use of force or the

 threat of force; 2) without consent; or 3) where the individual is incapacitated. The record

 does not support a conclusion that Respondent used or threatened to use force in order

 to engage in sexual intercourse with Jane Roe 1                        47.   Further, while the record

 suggests the parties involved were all under the influence of alcohol, the record does not

 support a conclusion that Ms. Jane Roe 1was incapacitated by alcohol.                          Under the

 circumstance of this case, it is Jane Roe 1                   consent that is most in question.

         Having considered the entire record, I find that Jane Roe 1                      did not consent

 to the act of sexual intercourse with Respondent and that the interaction meets MSU’s

 definition of sexual assault.


 47
  It is noted, however, that Respondent used force to make his initial sexual contact that Jane Roe 1
 However, that violation of the PRVSM is subsumed by the larger charge, explained below.

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        Claimant was clear that she never wanted to have sex with Respondent and the

 parties agree that she never verbally stated a desire to do so.

        At the time this sexual assault began, Claimant had isolated herself at the top of a

 set of steps, was very drunk, and was crying. She had just witnessed her best friend, Ms.

 Jane Roe 2kissing   her sexual partner, Mr. K.B.           who had brought a date, not being

 Jane Roe 1            nor Ms.   Jane Roe 2to   the Ball. In short, Ms. Jane Roe 1was a drunken

 emotional wreck crying in a semi-private spot at the top of a stairwell. Respondent, who

 admits to being attracted to Jane Roe 1                amid an evening of, at least for him, rising

 sexual energy, joined her at the top of the steps. Rather than being content with acting

 the gentleman to console Ms. Jane Roe 1in her moment of need, Mr. John Doe admits to

 forcefully turning Ms. Jane Roe 1head toward him so that he could begin kissing and

 making out with her.

        Under the circumstances, it should go without saying that Respondent’s behavior

 was fraught with danger. Jane Roe 1                    could have fought back by, for instance,

 slapping him. She could have fled the area to find solitude, an action Respondent knew

 she had just done when confronted by the trauma of seeing her lover and best friend

 kissing. Or, she could freeze, which, as explained below, is what she did.

        Mr. John Doe claims that Ms. Jane Roe 1actively participated in all actions that

 ensued after he forced the first kiss on her. This, he claims, is how he knew Ms. Jane Roe 1

 had granted him consent to engage in sexual intercourse. However, that is not how Ms.

 Jane Roe 1recalls the interaction, nor how I find.

        Jane Roe 1           admits to gaps in her memory of the event. None-the-less, she

 was able to provide a general explanation of the events and how she felt during them.



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 Ms. Jane Roe 1described having shut down at this point. During the events, Ms. Jane Roe 1

 felt she could not react and that she dissociated from the experience. As she explained

 it, “ . . . this person that I did not think was threatening was doing this and I did not know

 what he was capable of at that point. He was… the language he was using… I just didn’t

 know and I didn’t feel… especially with the alcohol, I think, I just didn’t… I couldn’t react.”

          While Ms. Jane Roe 1reaction may be hard to understand and accept, Ms. A.V.

 provided an explanation. First, she explained it is not uncommon for the victim of a sexual

 assault to suffer memory loss. More helpful was her testimony regarding a fight, flight or

 freeze response. She explained that sometimes the victims of sexual assault will “freeze”

 as a survival mechanism. Based on her experience as a psychologist and her treatment

 of Ms. Jane Roe 1it is Ms. A.V.          opinion that Ms. Jane Roe 1froze during the sexual

 assault. As she stated at HCF-530, p 29, it was her opinion:

                 Freezing can occur during sexual assault. [It sounds] as if that was
          what happened to Jane Roe 1               . . . . [T]he immobility Jane Roe 1
                    was experiencing likely hindered her ability to fight, but one can
          also engage in that state. “Part of the survival response is to go along with
          some of what is happening.” [I believe] Jane Roe 1              was trying to
          move through the situation and respond in a way that would allow her to
          survive.

 I am convinced by and accept Jane Roe 1                and Ms. A.V.        explanation of the

 event.

          For whatever reason, Respondent was either unable to properly assess Ms.

 Jane Roe 1reaction to his unwanted sexual advancements or he chose to ignore them.

 While his motives make no difference to the outcome of this matter, it is worth discussing.

 Respondent admits he was intoxicated by alcohol and it’s quite likely this affected his

 judgment and ability to properly assess the dangerous waters he had waded into. Further,



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 Dr. Busch provided uncontested testimony, indicating that Respondent has some sort of

 difficulty reading non-verbal communication. This raises the possibility that Respondent

 was simply not able to properly process and understand the non-verbal signals that Ms.

 Rousikis was communicating. It also could have been a combination of alcohol and some

 inherent problem processing non-verbal communication that led Respondent astray. Or,

 he simply might not have cared. In the end it really doesn’t matter. What does matter is

 that Respondent isolated a distraught Ms. Jane Roe 1he then made unwanted sexual

 contact with a her, and then, after she froze from the trauma he was experiencing, he

 raped her.

       In sum, I find that the evidence supports a finding, by at least a preponderance of

 the evidence, that Ms. Jane Roe 1did not wish to engage in sexual activity with

 Respondent, nor did she provide verbal or non-verbal consent to engage in sexual

 intercourse with Respondent.      Rather, when Ms. Jane Roe 1was confronted with

 Respondent’s unwanted sexual contact, she froze as a survival mechanism to

 experiencing a traumatic event. Respondent, not recognizing or ignoring the fact that he

 had no consent, engaged in sexual intercourse with Ms. Jane Roe 1the entire act being

 against her will and without her consent.

       Thus, in the early morning hours of Sunday, April 24, 2016, while at the Med Ball,

 Respondent, Mr. John Doe      engaged in sexual misconduct in violation of Section II of

 the University Policy on Relationship Violence & Sexual Misconduct.           Specifically,

 Respondent violated Section II by committing an act of Sexual Violence by engaging in

 sexual intercourse with Jane Roe 1          without her consent, as defined in Section VIII

 of the University Policy on Relationship Violence & Sexual Misconduct.



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        Hearing Case File 00530-2018

        Respondent admits to intentionally engaging in sexual contact with Ms.      Jane Roe 2


 The question to be decided is whether the act of sexual contact amounted to an act of

 sexual violence. To be found an act of sexual violence, the contact must be an intentional

 contact with the intimate parts of another . . . or the disrobing or exposure of another

 without permission. Having considered the entire record, I find that Claimant Pompa did

 not give permission to Respondent to engage her in sexual contact. Rather, I find that

 Respondent committed a sexual assault by making sexual contact with a sleeping victim.

        In short, this is a classic he said, she said. Respondent claims he engaged in

 consensual sexual contact with Ms. Jane Roe 2until she stated she was no longer interested;

 at which time he ceased his actions. On the other hand, Dr. Jane Roe 2claims she fell asleep

 on a couch, only to later awake partially disrobed with Respondent’s hands in her

 undergarments.

        Respondent’s defense relies entirely upon acceptance of his version of the facts.

 I find that not possible. In general, Respondent was not particularly credible. His version

 of the events surrounding this incident are particularly not credible because of

 Respondent’s conflicting accounts of what happened with Jane Roe 1                   in Mr.

 K.B.       bedroom. As outlined above, Respondent provided inconsistent testimony

 about these bedroom activities; activities that took place immediately prior to his sexual
                                                                                     Jane Roe 2
 contact with Ms. Jane Roe 2Because of this and, more importantly, because Dr.

 provided credible testimony, I find Dr. Jane Roe 2description of the events convincing.

        After review of the entire record, I find the following. Respondent entered Mr.

 K.B.      bedroom to be with Jane Roe 1                Respondent got into bed with Ms.



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 Jane Roe 1and, he claims, kissed her without her prior permission.48                    After   Jane Roe 1


             rebuffed his sexual advancements, Respondent proceeded to the living room

 where he would find his next victim. There, on the couch, was Ms.                    Jane Roe 2who   was

 sleeping off a long night of drinking. His night not yet complete, Respondent set out on

 another sexual mis-adventure by cozying up to her and engaging her in sexual contact

 by partially disrobing her, by placing his hands in or on her undergarments, and by kissing

 her; all while she was sleeping or slowly returning to consciousness from her drunken

 slumber.

         This behavior amounts to sexual contact without consent and is a form of sexual

 violence, as defined by Section VIII of the PRVSM and is banned under Section II of the

 PRVSM.

 Conclusion
                                                                                                      John Doe
         It is found, by a preponderance of the evidence, that Respondent, Mr.

               violated Section II of the University Policy on Relationship Violence & Sexual

 Misconduct by engaging in sexual intercourse with Ms. Jane Roe 1                            without her

 consent.




 48 While this might be considered a separate count of sexual assault, Jane Roe 1           does not recall
 being kissed by Respondent and this incident did not appear to be the focus of the parties, so no decision
 is being rendered about this encounter.

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                                                                                               John Doe
       It is also found, by a preponderance of the evidence, that Respondent, Mr.

            violated Section II of the University Policy on Relationship Violence & Sexual

 Misconduct by engaging in sexual contact with Dr. Jane Roe 2     without her permission.



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                                         Mark D. Eyster
                                         Administrative Law Judge, serving as
                                         Resolution Officer for Michigan State University


Issued:
May 22, 2019
Lansing, Michigan




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